        Case 3:20-cv-00426-SDD-EWD               Document 18        01/25/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


ANDREW BABINSKI                                        NO.: 3:20-cv-426-SDD-EWD

VERSUS

TODD QUEEN, ET AL.


           MOTION TO DISMISS COMPLAINT PURSUANT TO RULE 12

       NOW INTO COURT, through undersigned counsel, come Kristin Sosnowsky in her

personal and official capacities, and Shannon Walsh, John Fletcher and Alan Sikes, in their

personal capacities, (collectively “Defendants”) who, for the reasons set forth herein and in the

accompanying Memorandum in Support of Motion to Dismiss Complaint Pursuant to Rule 12,

filed simultaneously herewith, move to dismiss the Complaint (Doc. 1) of Andrew Babinski

(“Plaintiff”) with prejudice, at Plaintiff’s cost, including reasonable attorney fees, pursuant to Fed.

R. Civ. P. 12(b)(1) and (6) as follows:

                                                  1.

        The Eleventh Amendment of the U.S. Constitution grants sovereign immunity to state

employees for acts within their official capacities.

                                                  2.

       Plaintiff failed to state a claim upon which relief can be granted against any of the

Defendants in their personal capacities because all alleged acts were taken in the course and scope

of the Defendants’ public employment.




                                              Page 1 of 2
          Case 3:20-cv-00426-SDD-EWD             Document 18        01/25/21 Page 2 of 2




                                                  3.

         Plaintiff failed to state a claim upon which relief can be granted because: a) course

assignments are not protected speech; b) students have no protected property interest in

maintaining enrollment in a particular academic program; c) Plaintiff is not a “class of one” entitled

to equal protection; and 5) Plaintiff’s conclusory allegation of conspiracy is not supported by facts

sufficient to state a claim upon which relief can be granted.

                                                  4.

         Alternatively, and only in the event this Honorable Court determines Plaintiff’s claims are

not barred by the Eleventh Amendment, and any claim has been stated upon which this Honorable

Court can grant relief, Plaintiff’s claims are barred by qualified immunity.

         WHEREFORE, Defendants, Kristin Sosnowsky, Shannon Walsh, John Fletcher, and

Alan Sikes pray for an Order granting this Motion to Dismiss Complaint Pursuant to Rule 12,

dismissing Plaintiff’s Complaint, with prejudice, at Plaintiff’s cost, including reasonable attorney

fees.

                                                    By Attorneys:

        CERTIFICATE OF SERVICE

    I hereby certify that on January 25,             /s/Sheri M. Morris
2021, a copy of the forgoing Motion to              Sheri M. Morris, LA Bar No. 20937
Dismiss Complaint Pursuant to Rule 12               Christina B. Peck, LA Bar No. 14302
was filed electronically with the Clerk of          Katelin Varnado, LA Bar No. 35498
Court using the CM/ECF system.                      Special Assistants Attorney General
                                                    DAIGLE, FISSE & KESSENICH, PLC
     All counsel will be served through the         8480 Bluebonnet Blvd., Suite F
CM/ECF system. There are no non-CM/EC               Baton Rouge, LA 70810
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            /s/ Sheri M. Morris
              Sheri M. Morris

                                              Page 2 of 2
